Filed 10/10/19                                         Case 19-21640                                               Doc 141

     UST−100     Appointment of Interim Trustee and Notice of Selection (v.7.15)                           USBC,EDCA



                                   UNITED STATES BANKRUPTCY COURT
                                        Eastern District of California

                                     APPOINTMENT OF INTERIM TRUSTEE
                                        AND NOTICE OF SELECTION
     In re
                                                                                                   Case Number
             Debora Leigh
             Miller−Zuranich                                                                19−21640 − B − 7

                                                                               Debtor(s).




    Geoffrey Richards is hereby appointed Interim Trustee of the above−named Debtor's(s') estate and Trustee
    if creditors fail to elect a Trustee as provided by the Bankruptcy Code. The Interim Trustee has filed a
    blanket bond pursuant to Federal Rule of Bankruptcy Procedure 2010(a).

    If the Interim Trustee does not notify the Office of the United States Trustee and the Court in writing of
    rejection of the office within seven days after receipt of notice of selection, the Interim Trustee shall be
    deemed to have accepted the office.


     Dated: 10/10/19                                         Office of the United States Trustee
                                                             Region 17 −− Sacramento Office

                                                             Tracy Hope Davis
                                                             United States Trustee

                                                             Gregory S. Powell
                                                             Assistant United States Trustee
